                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

 BROIDY CAPITAL MANAGEMENT, LLC and
 ELLIOTT BROIDY,
                                                          Case No. 19-cv-00150-DLF
                                        Plaintiffs,

                            v.

 NICOLAS D. MUZIN, JOSEPH ALLAHAM,
 GREGORY HOWARD, STONINGTON
 STRATEGIES LLC,

                                        Defendants.


                                    JOINT STATUS REPORT

       Pursuant to the Court’s July 20, 2022 Minute Order, Plaintiffs Broidy Capital Management,

LLC and Elliott Broidy (together, “Plaintiffs”) and Defendants Nicolas D. Muzin, Stonington

Strategies LLC, Gregory Howard, and Joseph Allaham (together, “Defendants”), by counsel,

hereby submit this Joint Status Report regarding new discovery deadlines.

       1.      In light of Qatar’s pending appeal before the Court of Appeals for the D.C. Circuit,

which will determine whether Defendants are required to produce documents and provide

information that are the subject of that appeal, proceeding with the current discovery schedule is

not feasible until the appeal is resolved.

       2.      The parties jointly therefore propose that the new substantial completion deadline

for document discovery be moved to 60 days after the D.C. Circuit issues a decision on the appeal,

which will be fully briefed by September 26, 2022.

       3.      In their discovery responses, Defendants asserted certain privileges and immunities

belonging to Qatar that are implicated in the appeal. Plaintiffs thus propose, and defendants are

amenable to, adding a new deadline to amend any discovery responses, if necessary, based on the
D.C. Circuit’s decision. The parties propose that this deadline shall occur 30 days after the

issuance of the mandate on the D.C. Circuit’s decision.

       4.      The remainder of the deadlines would be moved accordingly based on the time

periods between deadlines in the current Scheduling Order. See Minute Order, Apr. 25, 2022.

       5.      The parties’ proposed new schedule is as follows:


                    Event                  Current Deadline              New Deadline*
     Amend discovery responses, if         N/A                     30 days after D.C. Circuit
     necessary after D.C. Circuit                                  decision
     decision
     Substantial completion of             August 19, 2022         30 days after deadline to
     document discovery                                            amend discovery responses
     Motions to add parties or amend       September 2, 2022       14 days after substantial
     pleadings                                                     completion
     Close of fact discovery               October 13, 2022        41 days after motions to
                                                                   add parties
     Close of expert discovery             January 5, 2023         84 days after close of fact
                                                                   discovery
     Dispositive motions                   February 2, 2023        28 days after close of
                                                                   expert discovery
     Responses to dispositive motions      March 2, 2023           28 days after dispositive
                                                                   motions
     Replies in support of dispositive     March 23, 2023          21 days after responses to
     motions                                                       dispositive motions

* To the extent that this day falls on a weekend or holiday, the deadline will be the next business
  day.




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Dated: July 27, 2022

Respectfully submitted,

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